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            EXHIBIT 17
                 Case 3:23-cv-03007-VC                      Document 84-19                 Filed 09/16/24          Page 2 of 6


Direct
 DirectMessages  betweenStacey
        Messagesbetween         Contiand
                         StaceyConti           Schobingeron
                                          MarkSchobinger
                                      andMark                2023-03-23
                                                          on2023-03-23




                                                                           SC
                                                                            Sc

 sconti (Stacey
sconti           Conti)
         (Stacey Conti)
 2023-03-2302:16
2023-03-23       AM
            02:16AM

Do
Do we
   we know
       know the
             the details ofthe
                 details of      BOD approved
                            the BOD           PBP targets
                                     approved PBP                 year?
                                                            this year?
                                                   targets this


Lindsay  and Jared
 Lindsay and Jared want
                   want to
                         to add
                            add more  to the
                                more to       PBP announcement
                                          the PBP                     as:
                                                                such as:
                                                   announcement such


"According                                                           revenue or
                                                                 in revenue            in 2022.
                                                                                EBIDA in
                                                                             or EBIDA                           the Company
                                                                                                Unfortunately, the
                                                                                          2022. Unfortunately,              only
                                                                                                                    Company only
 "According to
             to the
                 the plan,
                     plan, the
                            the Company
                                Company needed
                                         needed to
                                                 to generate
                                                    generate $X
                                                             $X in
                                                                                 FY22 was,
                                                                            over FY22      however, taken
                                                                                      was, however,         into consideration
                                                                                                     taken into                 in
                                                                                                                 consideration in
generated
generated $X
          $X and  therefore, the
             and therefore,   the FY22
                                  FY22 PBP
                                       PBP will
                                           will not
                                                not be
                                                    be funded.
                                                        funded. Performance
                                                                Performance over
 the equity
the         awards.
     equity awards.

                                                                           Sc
                                                                           Sc

sconti (Stacey
sconti          Conti)
        (Stacey Conti)
2023-03-23 02:40
2023-03-23       AM
           02:40 AM

Mark
Mark was
     was this
          this the   final approved
                the final           PBP plan
                           approved PBP       for FY22.
                                        plan for        From Comp
                                                  FY22. From                Minutes
                                                                  Committee Minutes
                                                             Comp Committee

Screenshot 2023.03.22
Screenshot            at 7.37.56
           2023-03-22 at         PM.png
                         7.37.56 PM.png

PNG • 180
PNG       KB
      180 KB

https://twitterenterprise.slack.com/filesNV81AMATT/F04V9MFAZ34tscreenshot_2023-03-22_at2.37.56_pm.png

Screenshot 2023.03.22
Screenshot            at 7.38.23
           2023-03-22 at         PMpng
                         7.38.23 PM.png

PNG • 199
PNG       KB
      199 KB

https://twitterenterprse slack com/filesM/BI AX6ATTfF04V33ETG5Cfscrenshot2O23O322at73823pmpng
https://twitter.enterprise.slack.com/files/W81AMATT/F04V33ETG5C/screenshot_2023-03-22_at_7.38.23_pm.png
                                 PM,png
                         738.35 PM.png
                      at 7.38.35
                                                                                                                           EXHIBIT 25
                                                                                                                          EXHIBIT     2.5
Screenshot 2023-03-22 at
Screenshot 2023-03.22
                                                                                                                          WIT:
                                                                                                                           WIT: Sal 0 0 I- nger'
PNG 234
PNG     KB
    234 KB
                                                                                                                          DATE:
                                                                                                                          DATE: 8. 2 .2-Lf
https://twitter.enterprise.slack.com/filesM/81AX6ATT/F04V9MFJVFC/screenshot_2023-03-22_at_7.38.35_pm.png                  SHARON ROSS, CSR, CRR,
                                                                                                                          SHARON ROSS, CSR, CRR, RMR
                                                                                                                                                 RMR

                                                                           Sc
                                                                           SC

sconti (Stacey
sconti         Conti)
       (Stacey Conti)
2023-03-23 03:00 AM
2023-03-23

                                                                    commencement date no
                                                   March 24 vesting commencement         matter when plans
                                                                                      no matter                            in
                                                                                                               registered in
                                                                                                     plans get registered
FYI
FYI - looks
     - looks like
              like they
                   they are going to
                        are going to give
                                     give everyone
                                          everyone March
each country or jurisdiction
                                  PROTECTIVE ORDER
          CONFIDENTIAL SUBJECT TO PROTECTIVE
          CONFIDENTIAL
                                                                                                           X-SCHOBINGER_000000146
                                                                                                           X-SCHOBINGER 000000146
                   Case 3:23-cv-03007-VC               Document 84-19             Filed 09/16/24           Page 3 of 6



                                                                   MS
                                                                   MS
mschobinger (Mark
mschobinger       Schobinger)
            (Mark Schobinger)
2023-03-23 03:22
2023-03-23       AM
           03:22 AM

Yes,                                                                    Lindsay on
                                                            thread with Lindsay         so II
                                                                                on itit so   don't have    explain itit twice
                                                                                                        to explain
                                                                                                   have to                        she
                                                                                                                              why she
                                                                                                                        twice why
Yes, those
     those are
           are the
               the funding
                   funding curves.
                           curves. But
                                   But let's        another thread
                                              start another
                                        Pet's start                                         don't
          say itit exactly
shouldn't say
shouldn't                       way.
                           that way.
                   exactly that

                                                                   MS
                                                                   MS
mschobinger (Mark
mschobinger       Schobinger)
            (Mark Schobinger)
                 AM
           03:23 AM
2023-03-23 03:23

        "they" on the equity
     is "they"
Who is                               comment?
                             vesting comment?
                      equity vesting

                                                                   MS
                                                                   MS
mschobinger (Mark
mschobinger       Schobinger)
            (Mark Schobinger)
2023-03-23 03:28
202.3-03-23       AM
            03:28 AM

Starting                                                      registrations are
                                       regardless of when the registrations          assumes all
                                                                                made assumes
                                                                            are made                           will happen
                                                                                                 registrations will
                                                                                             all registrations             before
                                                                                                                    happen before
Starting the
         the clock
             clock ticking
                   ticking on March
                              March 24 regardless
March                       ensure the first vest date of March 24, 2024 happens.
                                                          March 24,                   that's what
                                                                                   If that's
                                                                         happens. If              they want
                                                                                             what they      to do
                                                                                                       want to            consulting,
                                                                                                                  without consulting,
                                                                                                               do without
March 23,
      23, 2024
          2024 in
                in order
                   order to ensure
fine.
fine. II
       hope
        hope they
             they know
                  know more
                       more than they seem to on the finance implications  and the
                                                              implications and             implications.
                                                                                   system implications.
                                                                               the system

                                                                   MS
                                                                   MS
mschobinger (Mark
mschobinger       Schobinger)
            (Mark Schobinger)
                 AM
           03:29 AM
2023-03-23 03:29

Also                                letter need    be re-looked
                                           need to be                      we were
                                                                   because we
                                                      re-looked at because         using language
                                                                              were using           that read
                                                                                          language that                 like
                                                                                                             something like
                                                                                                        read something
Also means
     means the
           the fags
               faqs need
                    need and award letter
        is over 4
vesting is        years from
                4years       grant date
                        from grant      which is
                                   date which    now being
                                              is now       thrown out
                                                     being thrown         door.
                                                                      the door.
                                                                  out the

                                                                   MS
                                                                   MS
mschobinger (Mark
mschobinger       Schobinger)
            (Mark Schobinger)
                 AM
           03:45 AM
2023-03-23 03:45

Ok,                                                               So here  is my
                                                                     here is              on their
                                                                                 feedback on
                                                                              my feedback          desire to
                                                                                             their desire    add more
                                                                                                          to add                to
                                                                                                                      narrative to
                                                                                                                 more narrative
Ok, II
     can't
      can't copy the pbp wording from one slack to another slack. So
the pbp...
We've                                                                            plan figures
                                                                           these plan              be both
                                                                                              will be
                                                                                      figures will                 and require
                                                                                                           foreign and
                                                                                                      both foreign             a
                                                                                                                       require a
We've never
      never shared
            shared the
                   the plan figures with our employees. So telling someone these
tremendous                                not made up. Employees
                                              made up.                         plan has
                                                                      know the plan
                                                       Employees also know              aminimum
                                                                                    has a         funding (50%)
                                                                                          minimum funding               So
                                                                                                                 level. So
                                                                                                          (50%) level.
tremendous amount
           amount of
                  of trust
                     trust that they were not
we could perform terrible but still pay                For that
                                    pay out something. For      reason, II
                                                           that reason,   would not
                                                                         would      cite the
                                                                                not cite     plan nor
                                                                                         the plan            numbers.
                                                                                                      actual numbers.
                                                                                                  nor actual

                                                                                meaning itit can
                                                               is discretionary meaning
                                         read is that the plan is                                     pay more
                                                                                                 also pay
                                                                                             can also             nothing at
                                                                                                               or nothing
                                                                                                          more or            all.
                                                                                                                          at all.
What
What most employees gloss over and don't read
     most employees
                                                                                       the x%
                                                                                   (do the
                                                               below our threshold (do        on both
                                                                                           x% on          revenue and
                                                                                                      the revenue
                                                                                                 both the             profitability
                                                                                                                  and profitability
So
So I'd
   I'd keep
       keep itit high level by telling employees we came in x% below
                 high level
measures)                                         $, and then tell them because itit was
                                     not absolute $,                                 was so     under expectations
                                                                                            far under
                                                                                         so far                    on the
                                                                                                      expectations on         end
                                                                                                                          low end
                                                                                                                      the low
measures) so
          so that
             that it is relative and not
                                                        applied and
                (which is permitted under the plan) was applied
that discretion (which                                              the plan
                                                                and the      was not
                                                                        plan was     funded.
                                                                                 not funded.

                                                                   MS
mschobinger (Mark Schobinger)
mschobinger
                 AM
2023-03-23 03:53 AM

IIwould                                                   consideration in the equity plans for several reasons...
                                 over fy22 was taken into consideration                                                everyone
                                                                                                                   not everyone
                                                                                                        reasons.., not
  would also
        also not
             not say
                 say performance
                     performance over
                                                                                  under Twitter
                                                                           assess under
                                                                        as assess               2.0 is
                                                                                        Twitter 2.0    what mattered
                                                                                                    is what            that's
                                                                                                            mattered - that's
   receiving an equity award, and for those that are, there performance as
is receiving
is                                                                                                                           -




                                                                                      performing well/great/exceptional/blah
                                                                                  are performing                             blah
                                                                                                 well/great/exceptional/blah blah
almost
almost literally
       literally what we said on those mgr calls. So you could have been told you are
                 what we
                                                                                              pbp impact
                                                                                          the pbp
                                 1.0 and not get an equity award. We don't need to soften the              it speaks
                                                                                                  impact - it            what it
                                                                                                                     for what
                                                                                                              speaks for         is
                                                                                                                              it is
blah
blah for
     for 10
         10 months under Twitter 1.0
            months under                                                                                          -




                                                                         no short
                                                                      is no
                                                        aresult there is               (bonus) reward.
                                                                                  term (bonus)
                                                                            short term                    need to
                                                                                                       No need
                                                                                               reward. No                  things
                                                                                                                  conflate things
                                                                                                               to conflate
which
which is we performed terribly in the short term and as a
      is we
or make it harder.

                                                                   MS
mschobinger (Mark Schobinger)
mschobinger
                 AM
2023-03-23 03:54 AM
                                      PROTECTIVE ORDER
              CONFIDENTIAL SUBJECT TO PROTECTIVE
              CONFIDENTIAL
                                                                                               X-SCHOBI NGER_000000147
                                                                                               X-SCHOBINGER_000000147
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If                        I'm still
If you want to talk live, I'm       up watching
                              still up watching ncis Hawaii.
                                                ncis Hawai'i.

                                                                  MS
                                                                  MS
mschobinger (Mark
mschobinger       Schobinger)
            (Mark Schobinger)
                 PM
           06:52 PM
2023-03-23 06:52

are                          acall with fai? I'm chatting with                 but iI
                                                                        slack, but
                                                                   over slack,       dont want to drop in slack
                                                                                                  drop in       why iiam
                                                                                                          slack why             for
                                                                                                                         asking for
                                                                                                                      am asking
are you
    you free where we can do a
        free where                                        with him over             dont  want to
final                                        apbp comm we are prepping. he needs
                                                              prepping. he          know the
                                                                                 to know
                                                                           needs to                   so he
                                                                                             decision so
                                                                                         the decision           provide the
                                                                                                            can provide
                                                                                                         he can
final numbers
      numbers other
              other than they are needed for a
                    than they                                                                                           the
numbers,
numbers, ii
          just dont want to write that in slack because    added someone
                                                        he added
                                                because he                    to the
                                                                         else to
                                                                 someone else        thread.
                                                                                 the thread.

                                                                  MS
                                                                  MS
mschobinger (Mark
mschobinger       Schobinger)
            (Mark Schobinger)
                 PM
2023-03-23 06:52 PM

                                                                acall with fai. but its probably
                                                                                but its                 all 3
                                                                                                 better all
                                                                                        probably better       of us
                                                                                                            3of     are on
                                                                                                                 us are        call.
                                                                                                                           the call.
                                                                                                                        on the
I'm on
I'm on a
       acall
         call that
              that should
                   should be done in 10 mins, and then could do a     with fai.

                                                                  SC
                                                                  Sc

               Conti)
sconti (Stacey Conti)
                 PM
           08:07 PM
2023-03-23 08:07

                                           Fai just stopped
                                  meeting. Fai              me. Said
                                                    stopped me.            is calculating
                                                                     Mason is
                                                                Said Mason                numbers but
                                                                              calculating numbers     the numbers
                                                                                                  but the                don't
                                                                                                                  really don't
                                                                                                          numbers really
Hey there. Sorry IIwas in another meeting.
Hey there.
                                           don't included
                                        we don't
support the narrative. He suggests that we                numnbers
                                                 included numnbers

                                                                  SC
               Conti)
sconti (Stacey Conti)
sconti
                 PM
2023-03-23 08:08 PM

Early numbers
Early                 revenue and               EBIDTA
                                                EBIDTA

                                                                   U

USLACKBOT
USLACKBOT
                 PM
2023-03-23 08:15 PM

                                                                  SC
               Conti)
       (Stacey Conti)
sconti (Stacey
                 PM
           08:15 PM
2023-03-23 08:15

      anew compute
It me a
l't

                                                                  Sc
                                                                  SC
sconti (Stacey Conti)
                 PM
           08:15 PM
2023-03-23 08:15
                                 me a
                            give me
IIhave to allow in settings give      sec
                                    asec

                                                                  MS
mschobinger (Mark Schobinger)
mschobinger
                 PM
           08:16 PM
2023-03-23 08:16

kk

                                                                  SC
                                                                  Sc
sconti (Stacey Conti)
                 PM
2023-03-23 08:16 PM

meet

                                                                  MS
mschobinger (Mark Schobinger)
mschobinger
                 PM
2023-03-23 08:16 PM

kk
              CONFIDENTIAL SUBJECT TO PROTECTIVE
              CONFIDENTIAL                       ORDER
                                      PROTECTIVE ORDER
                                                                                             X-SCHOBINGER_000000148
                                                                                             X-SCHOBINGER_000000148
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                                                                  Sc
                                                                  Sc
sconti (StaceyConti)
 sconti(Stacey Conti)
2023-03-23  08:16PM
 2023-03-2308:16 PM

back  toconnect
back to  connect

                                                                  Sc
                                                                  SC
sconti (Stacey Conti)
sconti (Stacey Conti)
2023-03-23  08:17 PM
 2023-03-2308:17  PM

https://meet .google.com/pzr-pipv-hhn?authusero
https://meet.google.com/pzr-pipv-hhn?authuser=0
Real-time meetings by
Real-time meetings    Google. Using
                   by Google.       your browser,
                              Using your                yourvideo,
                                                  share your
                                         browser, share                      and presentation
                                                                    desktop, and
                                                             video, desktop,     presentationss with teammates and
                                                                                                 withteammates and
customers.
customers.
Meet
Meet
https://meet .google.com/pzr-pipv-hhn?authuser=O
https://meet.google.cornipzr-pipv-hhn?authuser=0
                                                                 MS
                                                                 MS
mschobinge
mschobinger  (Mark Schobinger)
           r (Mark Schobinger)
2023-03-23 08:41 PM
2023-03-2308:41  PM

is itit the
is          box folder
        the box            Closing Items"
                       "2. Closing
                folder "2.                you want
                                   Items" you          to use?
                                                   me to
                                              want me          and then,
                                                          use? and       which folder
                                                                   then, which        under that?
                                                                               folder under that?
                                                                  MS
                                                                  MS
mschobinge
mschobinger  (Mark Schobinger)
           r (Mark Schobinger)
2023-03-23 08:41 PM
2023-03-23 08:41 PM

or is
or           different one?
           a different
   is itit a           one?
                                                                  sc
                                                                  SC
sconti (Stacey Conti)
sconti (Stacey Conti)
2023-03-23 08:46 PM
2023-03-23 08:46 PM

Exec RSU
Exec     Grants https://drive
     RSU Grants               .google.com/drive/folders/1 xPdFtRfHQzAS7V38PkGbvMhFDiB3MoU H
                https://drive.google.conrildrive/folders/lxPdFtRfHOzAS7V38PkGbyMhFDiB3MoUH
                                                                  MS
                                                                  MS
mschobinge
mschobinger  (Mark Schobinger)
           r (Mark Schobinger)
2023-03-23 08:53 PM
2023-03-23 08:53 PM

ok, just
ok,      dropped all
    just dropped         files in
                     the files
                 all the          that drive
                               in that drive
                                                                  Sc
                                                                  SC
sconti (Stacey Conti)
sconti (Stacey Conti)
2023-03-23 09:06 PM
2023-03-23 09:06 PM

THANK YOU!
THANK YOU!
                                                                  Sc
                                                                  SC
sconti (Stacey Conti)
sconti (Stacey Conti)
2023-03-23
2023-03-23 10:14 PM
           10:14 PM

Mark,           the color coding
           does the
Mark, what does           coding mean?     we don't
                                       Red we
                                 mean? Red    don't have     awards right?
                                                         the awards
                                                    have the        right?
                                                                  Sc
                                                                  SC
sconti
sconti (Stacey Conti)
       (Stacey Conti)
2023-03-23
2023-03-23 10:14 PM
           10:14 PM

what is yello
what is
                                                                  MS
                                                                  MS
mschobinger (Mark
mschobinger       Schobinger)
            (Mark Schobinger)
                 PM
           10:28 PM
2023-03-23 10:28
                           SUBJECT TO
              CONFIDENTIAL SUBJECT
              CONFIDENTIAL                       ORDER
                                      PROTECTIVE ORDER
                                   TO PROTECTIVE
                                                                                           X-SCHOBIN GER_0000001 49
                                                                                           X-SCHOBINGER_000000149
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Sorry,   forgot to
Sorry, IIforgot    give you
                to give     that description
                        you that description
                                                               MS
                                                               MS
mschobing
mschobinger  (Mark Schobinger
          er (Mark Schobinger))

2023-0323  10:30 PM
2023-03-23 10:30 PM

In the
In           id cell:
       award id
   the award    cell:
•        means we
  yellow means
• yellow          have itit and
               we have          included the
                            and included     award statement
                                         the award statement
• red
•     means we
  red means          have itit
               don't have
            we don't
• green
•             you can
        means you
  green means     can ignore all together
                      ignore all          because we
                                 together because               them long
                                                     terminated them
                                                  we terminated               and they
                                                                          ago and
                                                                     long ago                 part of
                                                                                       aren't part
                                                                                  they aren't         the dispute
                                                                                                   of the dispute
                                                               Sc
                                                               Sc

sconti
sconti (Stacey Conti)
               Conti)
20230323
2023-03-23 10:33 PM
           10:33 PM

Thank you
Thank you




                CONFIDENTIAL SUBJECT TO PROTECTIVE
                CONFIDENTIAL                       ORDER
                                        PROTECTIVE ORDER
                                                                                    X-SCHOBINGER 000000150
                                                                                    X-SCHOBINGER_000000150
